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        Attorney for Plaintiff State of Arizona
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    7
                            IN THE UNITED STATES DISTRICT COURT
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                            IN THE EASTERN DISTRICT OF TENNESEE
    9
   10    State of Tennessee, et al.,
   11                                                        No: 3:21-cv-00308-CEA-DCP
                                           Plaintiff,
   12    v.                                              NOTICE OF WITHDRAWAL OF
   13                                                   PLAINTIFF STATE OF ARIZONA’S
         United States Department of Education, et            MOTION TO DROP
   14    al.,
   15
                                        Defendants.
   16
   17
               Plaintiff State of Arizona hereby withdraws its Motion to Drop, filed on March 10,
   18
        2023 (Doc. 127), without prejudice to refiling a similar document in the near future.
   19
               RESPECTFULLY SUBMITTED this 13th day of March, 2023.
   20
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                                                  BERGIN, FRAKES, SMALLEY &
   22                                             OBERHOLTZER, PLLC
   23
                                                  By: /s/ Anthony R. Napolitano
   24                                             Anthony R. Napolitano
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Case 3:21-cv-00308-CEA-DCP Document 128 Filed 03/13/23 Page 1 of 2 PageID #: 2581
    1
    2                              CERTIFICATE OF SERVICE

    3         On this 13th day of March, 2023, the foregoing was filed with the Eastern District
        of Tennessee’s Court Clerk’s Office using the CM/ECF System for filing, which will
    4
        provide a Notice of Electronic Filing to all CM/ECF registrants.
    5
        By: /s/ Anthony R. Napolitano
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Case 3:21-cv-00308-CEA-DCP Document 128 Filed 03/13/23 Page 2 of 2 PageID #: 2582
